                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF WISCONSIN


TIRON WASHINGTON, JR.,

                                   Plaintiff,
        v.                                                                      Case No. 24-cv-1426-bhl


LT. JTS #1517 et al.,

                                   Defendants.


                                         DECISION AND ORDER


        Plaintiff Tiron Washington, Jr., who is representing himself, filed a complaint under 42

U.S.C. §1983. On January 2, 2025, the Court screened the complaint, and on February 21, 2025,

Defendants filed their responsive pleading. Months later, on May 5, 2025, Washington filed a

motion for leave to amend his complaint. About a week later, apparently after realizing he had

inadvertently included the wrong case number in his first motion, Washington filed a second

motion for leave to amend his complaint. Other than correcting the case number, the second

motion appears to propose the same changes as the first motion.

        Regardless, the Court will deny both motions as being moot and unnecessary. Washington

does not propose to change any of the factual allegations in his original complaint. Instead, he

seeks to increase his requested damages from $2,000,000 to $6,000,000. 1 But it is unnecessary

for Washington to amend his complaint in the way he proposes because there is “no rule

prohibiting a jury from awarding more damages than a plaintiff requests . . . so long as the award


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 In the complaint, Washington seeks “compensatory, monitory [sic], and punitive damages,” Dkt. No. 1 at 9, and in
his proposed amended complaint, he seeks “pain and suffering, emotional distress, mental anguish, depression, stress,
compensatory, monitory [sic], and punitive damages,” Dkt. No. 40 at 1. But “pain and suffering, emotional distress,
mental anguish, depression, and stress” are not separate categories of damages; they are injuries for which
compensatory damages may be awarded.


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has a reasonable basis in the evidence.” Garcia v. SigmaTron Int’l., 842 F.3d 1010, 1025 (7th Cir.

2016) (citing Dresser Industries, Inc., Waukesha Engine Div. v. Gradall Co., 965 F.2d 1442, 1447

(7th Cir. 1992)). In other words, should Defendants be found liable, a jury will weigh the evidence

and determine the amount of damages it believes Washington is entitled to, without regard to the

amount of damages that he requests. Accordingly, because it is unnecessary for Washington to

plead the specific amount of damages he believes he is entitled to, the Court will deny his motion

for leave to amend his complaint to increase the dollar amount of his requested relief.

       IT IS THEREFORE ORDERED that Washington’s first motion for leave to amend his

complaint (Dkt No. 40) is DENIED as moot and his second motion for leave to amend his

complaint (Dkt. No. 41) is DENIED as unnecessary.

       Dated at Milwaukee, Wisconsin on May 16, 2025.
                                                          s/ Brett H. Ludwig
                                                          BRETT H. LUDWIG
                                                          United States District Judge




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